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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                   SOUTHERN DIVISION




 In re SANCTUARY BELIZE LITIGATION                          No: 18-CV-3309-PJM




   l[PROT0SED] ORDER GRANTING MOTION FOR ORDER APPROVING AND
  AUTHORIZING PAYMENT OF RECEIVER'S AND PROFESSIONALS'FEES AND
    COSTS FROM JANUARY 1,2022 THROUGH MARCH 31,2022 AND FOR NON-
 MATERIAL MODIFICATION OF ORDER GOVERNING INTERIM RECEIVERSHIP
                     MANAGEMENT(DOC.559)


       The Motion for Order Approving and Authorizing Payment of Receiver's and

Professionals' Fees and Costs From Januaiy 1, 2022 Through March 31, 2022 and for Non-

Material Modification of Order Governing Interim Receivership Management(Doc. 559)

("Motion") filed by the Receiver, Marc-Philip Ferzan of Ankura Consulting Group, LLC

("Receiver"), came before this Court for determination pursuant to regularly noticed motion.

The Court, having read and considered the Motion and all pleadings and evidence filed in

support thereof, and opposition to the Motion, ifany, and good cause appearing therefore, it is

       ORDERED that:


       1.      The Motion and all relief sought therein is granted in its entirety;

       2.      Without limiting the generality ofthe foregoing, the following fees and costs

incurred from January 1, 2022 through March 31, 2022 are hereby approved and authorized to be

paid from the assets ofthe receivership estate: (1) Receiver's fees, including the fees ofthe
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